Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 1 of 18




                     EXHIBIT 8
                  Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 2 of 18


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           O’ROURKE, ET AL. V. DOMINION VOTING SYSTEMS, INC., ET AL., 1:20-CV-03747-NRN (D. COLO.)
                    FEES AND EXPENSES OF DEFENDANT CENTER FOR TECH AND CIVIC LIFE (CTCL)




                                                                            FEES
                                                                                                                   COLORADO
                                                                                                                    MEDIAN
                                                                                                                      RATE
                                                                                                                   (PARTNER,
                                                                                                                   ASSOCIATE,
                                                                                                                      AND
      DATE              PERSON                            DESCRIPTION                               HOURS         PARALEGAL) 1                 TOTAL
    2/17/2021         Louis W. Fisher        Attention to email re: service of process;
                                             review complaint.                                          0.4              $200 2                   $80
    2/17/2021        Marcella Coburn         Review complaint; discuss complaint with
                                             team.                                                      1.5              $200 3                  $300
    2/17/2021        Michael Skocpol         Review complaint; discuss complaint with
                                             team.                                                      1.9              $200 4                  $380



1
  In accordance with the Court’s order granting CTCL’s motion for sanctions (ECF 136 at 68), these fees amounts are based on the Colorado Bar Association’s
Economics of Law Practice Survey, http://www.cobar.org/portals/COBAR/repository/2017EconomicSurvey.pdf (hereinafter “CBA Survey”).
2
  Louis W. Fisher is a rising fifth-year associate. Based on the CBA Survey, the median hourly billing rate for a full-time associate with between four and five
years of practice experience is $200. See Table 006, App’x A, CBA Survey.
3
  Marcella Coburn is a rising fifth-year associate. Based on the CBA Survey, the median hourly billing rate for a full-time associate with between four and five
years of practice experience is $200. See Table 006, App’x A, CBA Survey.
4
  Michael Skocpol is a is a rising fifth-year associate. Based on the CBA Survey, the median hourly billing rate for a full-time associate with between four and
five years of practice experience is $200. See Table 006, App’x A, CBA Survey. Note that Michael Skocpol is no longer associated with the law firm Kaplan
Hecker & Fink LLP.
             Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 3 of 18


                                                                                              CONFIDENTIAL


 2/18/2021     Louis W. Fisher   Review and analyze complaint; research
                                 service of process rules under Colorado
                                 civil procedure; draft outline of motion to
                                 dismiss arguments for team.



                                                                                4.3    $200        $860
 2/19/2021     Michael Skocpol   Review O’Rourke docket; research
                                 procedural issues; draft email to client re:
                                 complaint; call and emails with L. Fisher
                                 and M. Coburn re: same.                        2.30   $200        $460
 2/19/2021     Louis W. Fisher   Draft memorandum re: complaint; discuss
                                 analysis of complaint with team.
                                                                                2.8    $200        $560
 2/24/2021     Marcella Coburn   Review complaint and associated
                                 materials.                                     1.10   $200        $220
 2/24/2021     Michael Skocpol   Call with client, M. Coburn, and L. Fisher
                                 re: complaint; associated preparation and
                                 follow-up; research attorney admission
                                 requirements for District of Colorado.




                                                                                1.3    $200        $260
SUBTOTAL                                                                                         $3,120.00
                  Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 4 of 18


                                                                                                                                          CONFIDENTIAL


    3/2/2021         Michael Skocpol          Draft background section of motion to
                                              dismiss; review and annotate
                                              Complaint and exhibits for same.


                                                                                                         2.5               $200                    $500
    3/2/2021         Marcella Coburn          Draft motion to dismiss brief.                             0.1               $200                     $20
    3/2/2021            Lindsey               Prepare motion to dismiss papers.
                       Beckelman                                                                         1.5              $120 5                   $180
    3/3/2021         Marcella Coburn          Draft motion to dismiss brief.
                                                                                                         5.5               $200                   $1,100
    3/3/2021         Michael Skocpol          Research, strategize, and outline motion to
                                              dismiss argument sections; e-mails with J.
                                              Matz and client re: workflow; review draft
                                              notice of appearance and e-mails with L.
                                              Beckelman re: same.




                                                                                                         3.5               $200                    $700
    3/3/2021              Lindsey             Prepare notices of appearance.
                         Beckelman                                                                        1                $120                    $120
    3/4/2021         Marcella Coburn          Draft motion to dismiss brief.                             3.1               $200                    $620
                                              Draft motion to dismiss brief; research re:
    3/4/2021         Michael Skocpol          same.                                                     8.30               $200                   $1,660
                                              Review motion to dismiss brief;
    3/5/2021            Joshua Matz           correspond w Plaintiffs’ counsel.                         0.50              $235 6                  $117.5

5
  Lindsey Beckelman is a senior paralegal with 14 years of experience. Based on the CBA Survey, the median hourly billing rate for a paralegal with 10 to 14 years
of experience is $120. See Table 003, App’x B, CBA Survey. Note that Lindsey Beckelman is no longer associated with the law firm Kaplan Hecker & Fink LLP.
6
  Joshua Matz is a partner entering his ninth year of practice. Based on the CBA Survey, the median hourly billing rate for a law firm partner with between five
and nine years of experience is $235. See Table 005, App’x A, CBA Survey.
           Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 5 of 18


                                                                                              CONFIDENTIAL


                               Review initial draft of motion to dismiss
                               brief and circulate structural edits for
3/5/2021      Joshua Matz      incorporation by the team.                      0.70    $235      $164.5
                Lindsey        Attention to motion to dismiss brief
3/5/2021       Beckelman       preparation.                                    1.30    $120       $156
                               Review draft notices of appearance;
                               attention to comments on motion to
                               dismiss brief; revise motion to dismiss
3/5/2021     Louis W. Fisher   brief draft.                                     2.20   $200       $440
3/5/2021     Marcella Coburn   Draft motion to dismiss brief.                  12.00   $200      $2,400
                               Draft further sections of motion to dismiss
                               reply brief and compile with M. Coburn
                               draft; initial revisions to brief; discussion
                               with L. Fisher and M. Coburn of J. Matz
                               edits to first draft and workflow for second
3/5/2021     Michael Skocpol   draft.                                          6.20    $200      $1,240
3/6/2021     Louis W. Fisher   Revise motion to dismiss brief.                 3.00    $200       $600
3/6/2021     Marcella Coburn   Draft motion to dismiss brief.                  8.70    $200      $1,740
                               Revise motion to dismiss brief; discussion
3/6/2021     Michael Skocpol   with L. Fisher and M. Coburn re: same.          4.70    $200       $940


                               Revise motion to dismiss brief and send to
3/7/2021      Joshua Matz      client.                                         0.30    $235      $70.50
                               Review and confirm plan for responding to
                               client comments on motion to dismiss
3/7/2021      Joshua Matz      brief.                                          0.40    $235        $94
3/7/2021      Joshua Matz      Review and revise motion to dismiss brief.      1.50    $235      $352.50
3/7/2021     Louis W. Fisher   Revise motion to dismiss brief.                 1.40    $200       $280
3/7/2021     Marcella Coburn   Revise motion to dismiss brief.                 1.00    $200       $200
3/7/2021     Michael Skocpol   Revise motion to dismiss brief.                 0.50    $200       $100
            Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 6 of 18


                                                                                              CONFIDENTIAL


                                Strategy discussions with team about
                                response to Plaintiffs re: proposed filing of
3/8/2021       Joshua Matz      amended complaint.                              0.40   $235       $94
                 Lindsey        Prepare entry of appearance notices for
3/8/2021        Beckelman       filing.                                         1.30   $120       $156
                                Review revisions to motion to dismiss
                                draft; discuss strategy re: amended
                                complaint; research procedural rules;
                                attention to meet and confer
3/8/2021      Louis W. Fisher   correspondence.                                 0.50   $200       $100
                                Revise motion to dismiss draft; emails re:
3/8/2021      Marcella Coburn   same and re: amended complaint.                 2.30   $200       $460
                                Edits to motion to dismiss draft; e-mails re:
                                same; miscellaneous e-mails associated
                                with finalizing and filing Colorado notices
                                of appearance; review and discuss e-mail
                                from opposing counsel re: meet and confer
3/8/2021      Michael Skocpol   proposal.                                       1.30   $200       $260
3/9/2021       Joshua Matz      Correspond with opposing counsel.               0.20   $235        $47
3/9/2021      Michael Skocpol   Review filings.                                 0.30   $200        $60
                                Draft and send email to opposing counsel
                                in Colorado re: failure to file amended
3/10/2021      Joshua Matz      complaint.                                      0.30   $235      $70.50
                                Final review and filing of motion to
3/10/2021      Joshua Matz      dismiss.                                        0.50   $235      $117.50
                                Review filings by Plaintiffs on March 9,
                                2021 and assess implications for motion to
                                dismiss; discuss with team, and correspond
3/10/2021      Joshua Matz      with client.                                    1.50   $235      $352.50
                 Lindsey        Prepare motion to dismiss for filing; file
3/10/2021       Beckelman       brief.                                          4.10   $120       $492
            Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 7 of 18


                                                                                              CONFIDENTIAL


                                Attention to correspondence re: Plaintiffs’
                                motion to dismiss oppositions; cite check
                                and revise motion to dismiss brief; finalize
3/10/2021     Louis W. Fisher   brief for filing.                               3.20   $200       $640
                                Review motion to dismiss responses and
                                emails re: filing of motion to dismiss; cite-
3/10/2021     Marcella Coburn   check and revise motion to dismiss.             5.90   $200      $1,180
                                Review plaintiffs’ oppositions to Facebook
                                and Dominion motions to dismiss; revise
                                motion to dismiss responsive to same;
                                finalizing and filing motion to dismiss
                                (cite-checking and proofing; coordination
3/10/2021     Michael Skocpol   with case team).                                2.30   $200       $460
                                Review filings from Facebook and send
                                client update in advance of status
3/11/2021      Joshua Matz      conference on March 11, 2021.                   0.30   $235      $70.50
                                Prepare for, participate in, and debrief with
                                client on March 11, 2021 status
3/11/2021      Joshua Matz      conference.                                     2.50   $235      $587.50
                                Attend status conference; prepare notes
                                memorializing conference; draft consent to
                                magistrate jurisdiction; assist with drafting
3/11/2021     Louis W. Fisher   memo to client on conference.                   2.40   $200       $480
                                Prepare for status conference; status
3/11/2021     Marcella Coburn   conference; email re: same                      5.60   $200      $1,120
                                Attend status hearing; call with case team
3/11/2021     Michael Skocpol   re: debriefing and strategy.                    1.00   $200       $200
                                Attention to correspondence re: motion for
                                leave to amend; review motion to amend
3/16/2021     Louis W. Fisher   complaint.                                      1.50   $200       $300
                                Review amended complaint; email re:
3/16/2021     Marcella Coburn   motions to dismiss.                             1.90   $200       $380
            Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 8 of 18


                                                                                              CONFIDENTIAL


                                Review motion for leave to file amended
                                complaint and proposed amended
                                complaint; e-mail to M. Coburn and L.
3/16/2021     Michael Skocpol   Fisher re: same.                                0.60   $200       $120
                                Draft analysis of amended complaint;
                                attention to correspondence re: litigation
                                hold; draft outline of opposition to motion
3/17/2021     Louis W. Fisher   for leave to amend.                             2.20   $200       $440
                                Review amended complaint and email re:
3/17/2021     Marcella Coburn   same.                                           2.20   $200       $440
                                Draft email to opposing counsel re:
                                magistrate consent; research in support of
3/18/2021     Louis W. Fisher   opposition to motion for leave to amend.        0.90   $200       $180
                                Supervise filing of consent to magistrate
3/19/2021      Joshua Matz      judge.                                          0.30   $235      $70.50
                 Lindsey        Prepare and file Magistrate Judge Consent
3/19/2021       Beckelman       Form.                                           0.60   $200       $120
                                Attention to consent to magistrate
                                jurisdiction; draft and file Magistrate Judge
3/19/2021     Louis W. Fisher   Consent Form.                                   0.60   $200       $120
                 Lindsey
3/22/2021       Beckelman       Attention to O’Rourke filings.                  1.50   $200       $300
                                Discuss opp. to mot. to amend with team;
3/22/2021     Louis W. Fisher   draft initial outline for opposition brief.     1.10   $200       $220
                                Call with team re: amended complaint
3/22/2021     Marcella Coburn   opposition brief.                               0.40   $200        $80
                                Draft opposition brief to amended
3/23/2021     Marcella Coburn   complaint motion.                               1.50   $200       $300
                 Lindsey
3/24/2021       Beckelman       Attention to O’Rourke filings.                  0.20   $120        $24
                                Coordinate briefing strategy; call with M.
3/24/2021     Louis W. Fisher   Skocpol and M. Coburn re: opposition to         7.30   $200       $1460
            Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 9 of 18


                                                                                             CONFIDENTIAL


                                leave to amend; draft opposition to leave to
                                amend brief.
                                Draft opposition to motion for leave to
3/24/2021     Marcella Coburn   amend; call with team re: same.                7.00   $200       $1400
                                Call with M. Coburn and L. Fisher re:
                                opposition to motion for leave to amend
3/24/2021     Michael Skocpol   complaint strategy and workflow.               0.50   $200       $100
                                Draft opposition to motion for leave to
3/25/2021     Louis W. Fisher   amend.                                         7.30   $200       $1460
                                Draft opposition to motion for leave to
3/25/2021     Marcella Coburn   amend.                                         9.70   $200       $1940
                                Review and revise opposition to motion for
3/25/2021     Michael Skocpol   leave to amend.                                6.40   $200       $1280
3/26/2021      Joshua Matz      Review and revise brief.                       2.50   $235      $587.50
                 Lindsey
3/26/2021       Beckelman       Update brief.                                  0.50   $120        $60
                                Attention to correspondence re: opp. to
3/26/2021     Louis W. Fisher   motion to amend.                               0.20   $200        $40
                                Coordinate cite-checking and materials for
3/26/2021     Marcella Coburn   opposition to motion for leave to amend.       0.30   $200        $60
                                Review and revise draft opposition to
                                motion for leave to amend; additional
3/26/2021     Michael Skocpol   research for same.                             3.30   $200       $660
                                Review J. Matz edits to opposition to
                                motion for leave to amend; proofread and
                                revise same; send same to client for
                                review; coordinating e-mails with case
3/27/2021     Michael Skocpol   team and cite-checker.                         0.90   $200       $180
                                Review revisions to opposition to motion
3/28/2021      Joshua Matz      for leave to amend.                            0.30   $235      $70.50
3/28/2021     Louis W. Fisher   Incorporate edits from cite check.             0.30   $200       $60
                 Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 10 of 18


                                                                                                                                          CONFIDENTIAL


     3/28/2021        Molly Webster           Cite check opposition to motion to amend.                 3.10              $200 7                  $620
                                              Final review of opposition to motion for
     3/29/2021          Joshua Matz           leave to amend.                                           2.00               $235                   $470
                          Lindsey             Prepare brief for filing; finalize opposition
     3/29/2021           Beckelman            to motion for leave to amend.                             2.30               $120                   $276
                                              Finalize opposition to motion for leave to
     3/29/2021        Louis W. Fisher         amend for filing.                                         1.30               $200                   $260
                                              Proofread draft brief; file draft brief;
                                              review other amendment opposition
     3/29/2021       Marcella Coburn          filings; sanctions research.                              3.00               $200                   $600
                                              Attention to e-mails and logistics re: filing
     3/29/2021       Michael Skocpol          opposition to motion for leave to amend.                  0.20               $200                    $40
                                              Review and summarize leave to amend
     3/30/2021        Louis W. Fisher         filings.                                                  2.00               $200                   $400
                                              Draft summary of oppositions to motions
     3/30/2021       Marcella Coburn          for leave to amend.                                       1.00               $200                   $200
                                              Review and comment on e-mail re: other
     3/30/2021       Michael Skocpol          defendants’ motions.                                      0.10               $200                  $20
    SUBTOTAL                                                                                                                                  $36,081.00
                                              Attention to minute order scheduling
     4/2/2021         Louis W. Fisher         hearing on motion to dismiss.                             0.10               $200                    $20
                                              Review outline of motion to dismiss reply
     4/8/2021        Louis W. Fisher          brief; draft motion to dismiss reply brief.               3.00               $200                   $600
     4/8/2021        Michael Skocpol          Outline motion to dismiss reply brief.                    1.60               $200                   $320
                        Lindsey               Attention to court filings; Prepare for reply
     4/9/2021          Beckelman              filing.                                                   0.40               $120                    $48

                                              Attention to correspondence re: analyzing
     4/9/2021         Louis W. Fisher         Plaintiffs’ reply in support of leave to                  2.80               $200                   $560

7
 Molly Webster is a rising fifth-year associate. Based on the CBA Survey, the median hourly billing rate for a full-time associate with between four and five
years of practice experience is $200. See Table 006, App’x A, CBA Survey.
            Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 11 of 18


                                                                                             CONFIDENTIAL


                                 amend; call with M. Skocpol and M.
                                 Coburn re: briefing strategy.

                                 Meet-and-confer call w/ opposing counsel;
                                 post-call discussion w/ M. Coburn and J.
                                 Matz; call w/ L. Fisher and M. Coburn re:
 4/9/2021     Michael Skocpol    motion to dismiss reply brief.                1.20   $200       $240
4/10/2021     Louis W. Fisher    Draft motion to dismiss reply brief.          0.70   $200       $140
                                 Draft motion to dismiss reply; research for
4/10/2021     Michael Skocpol    same.                                         5.40   $200       $1,080
                                 Draft motion to dismiss reply; research for
4/11/2021     Michael Skocpol    same.                                         5.10   $200       $1,020
4/12/2021     Louis W. Fisher    Draft motion to dismiss reply brief.          4.60   $200        $920
                                 Draft motion to dismiss reply brief; review
4/12/2021     Michael Skocpol    and revise same; research for same.           6.60   $200       $1,320
                                 Review edits to motion to dismiss reply
4/13/2021     Louis W. Fisher    brief.                                        0.10   $200        $20
4/13/2021     Marcella Coburn    Cite-check motion to dismiss reply brief.     1.00   $200       $200
                                 Review J. Matz edits to motion to dismiss
4/13/2021     Michael Skocpol    reply brief; edits and proofing re: same.     0.70   $200       $140
                                 Finalize, revise, and file reply brief in
4/14/2021      Louis W. Fisher   support of motion to dismiss.                 1.80   $200       $360
                                 Cite-check reply brief and prepare for
4/14/2021     Marcella Coburn    filing.                                       3.80   $200       $760
                                 Miscellaneous filing day tasks for motion
                                 to dismiss reply brief (reviewing and
                                 revising tables; proofreading; reviewing
4/14/2021     Michael Skocpol    cite-check edits).                            1.80   $200       $360
                 Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 12 of 18


                                                                                                                                       CONFIDENTIAL


                                             Creation of table of authorities/table of
                                             contents for brief; finalization and filing of
    4/14/2021         Oliver Farnum          brief.                                                   1.20             $100 8                 $120
    4/19/2021          Joshua Matz           Oral argument preparation.                               1.50             $235                  $352.50
                                             Emails re: oral argument and case
                                             management needs; review plaintiffs’
    4/19/2021        Marcella Coburn         online materials.                                        1.20              $200                  $240
    4/20/2021         Joshua Matz            Hearing prep and calls with co-counsel.                  5.50              $235                $1,292.50
                                             Prepare for hearing and review and draft
                                             talking points for responding to motion for
    4/26/2021          Joshua Matz           judicial notice                                         10.50              $235                $2,467.50
                                             Attention to correspondence re: motion to
                                             add plaintiffs; prepare for hearing on
                                             motions to dismiss and leave to amend;
    4/26/2021        Louis W. Fisher         draft oral argument talking points.                      9.00              $200                  $1,800
    4/26/2021        Marcella Coburn         Prepare for oral argument.                              11.10              $200                  $2,220
                                             Compile and revise supplemental talking
                                             points and research notes for J. Matz for
                                             oral argument prep; call w/ J. Matz re: oral
                                             argument prep; follow-up research re:
                                             equal protection standards and injury-in-
                                             fact for oral argument prep; consultation w/
    4/26/2021        Michael Skocpol         M. Coburn and L. Fisher re: same.                        6.20              $200                  $1,240
                                             Prepare for, participate in, and debrief oral
    4/27/2021          Joshua Matz           argument on motion to dismiss.                           9.50              $235                $2,232.50
                                             Draft talking points; attend oral argument;
                                             debrief oral argument; call re: sanctions
    4/27/2021        Louis W. Fisher         motion.                                                  4.30              $200                   $860
                                             Oral argument preparation and hearing;
    4/27/2021        Marcella Coburn         sanctions research.                                      5.50              $200                  $1,100

8
  Oliver Farnum is a case manager with approximately two years of experience. Based on the CBA Survey, the median hourly billing rate for a paralegal with one
to two years of experience is $100. See Table 006, App’x B, CBA Survey.
             Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 13 of 18


                                                                                             CONFIDENTIAL


                                 Review and revise oral argument talking
                                 points for J. Matz; research for same; oral
                                 argument preparation call with J. Matz;
                                 attend oral argument on motions to dismiss
                                 by phone; preparation for same; debriefing
                                 of same with J. Matz, M. Coburn, and L.
                                 Fisher and discussion of Rule 11 strategy
                                 with same; call with M. Coburn and L.
                                 Fisher re: workflow for drafting
                                 memorandum in support of Rule 11 motion
                                 and associated tasks; research Rule 11
 4/27/2021     Michael Skocpol   procedure.                                    8.00   $200        $1,600
                  Lindsey
 4/28/2021       Beckelman       Attention to hearing transcript.              0.80   $120        $96
SUBTOTAL                                                                                       $23,729.00
  TOTAL                                                                                        $62,930.00
       Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 14 of 18


                                                                                               CONFIDENTIAL




                                           EXPENSES
DATE                 PERSON             DESCRIPTION                                          TOTAL
           2/17/2021 Michael Skocpol    Research re: responding to Complaint: Westlaw
                                        research charges
                                                                                                 $38.37
           2/18/2021 Louis W. Fisher    Research re: responding to Complaint: Westlaw
                                        research charges
                                                                                                 $27.57
SUBTOTAL                                                                                         $65.94
            3/3/2021 Marcella Coburn    Research in support of motion to dismiss briefing:
                                        Westlaw research charges
                                                                                                 $92.66
            3/4/2021 Michael Skocpol    Research in support of motion to dismiss briefing:
                                        Westlaw research charges
                                                                                                 $20.94
            3/4/2021 Marcella Coburn    Research in support of motion to dismiss briefing:
                                        Westlaw research charges
                                                                                                 34.07
            3/5/2021 Louis W. Fisher    Research in support of motion to dismiss briefing:
                                        Westlaw research charges
                                                                                                 $33.45
            3/5/2021 Michael Skocpol    Research in support of motion to dismiss briefing:
                                        Westlaw research charges
                                                                                                 $82.99
            3/5/2021 Marcella Coburn    Research in support of motion to dismiss briefing:
                                        Westlaw research charges
                                                                                                 $55.76
Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 15 of 18


                                                                                      CONFIDENTIAL


  3/6/2021 Louis W. Fisher       Research in support of motion to dismiss briefing:
                                 Westlaw research charges
                                                                                        $19.75
  3/6/2021 Marcella Coburn       Research in support of motion to dismiss briefing:
                                 Westlaw research charges
                                                                                        $31.63
  3/7/2021 Louis W. Fisher       Research in support of motion to dismiss briefing:
                                 Westlaw research charges
                                                                                        $7.46
  3/7/2021 Marcella Coburn       Research in support of motion to dismiss briefing:
                                 Westlaw research charges
                                                                                        $37.17
  3/8/2021 Marcella Coburn       Research in support of motion to dismiss briefing:
                                 Westlaw research charges
                                                                                        $5.84
 3/10/2021 Louis W. Fisher       Research in support of motion to dismiss briefing:
                                 Westlaw research charges
                                                                                        $4.65
 3/10/2021 Marcella Coburn       Research in support of motion to dismiss briefing:
                                 Westlaw research charges
                                                                                        $17.54
 3/16/2021 Louis W. Fisher       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                        $27.18
 3/17/2021 Louis W. Fisher       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                        $32.53
Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 16 of 18


                                                                                   CONFIDENTIAL


 3/17/2021 Marcella Coburn       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                    $109.14
 3/22/2021 Louis W. Fisher       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                     $4.65
 3/23/2021 Marcella Coburn       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                     $34.36
 3/24/2021 Louis W. Fisher       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                     $44.36
 3/24/2021 Marcella Coburn       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                    $113.33
 3/25/2021 Louis W. Fisher       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                     $13.94
 3/25/2021 Marcella Coburn       Research in support of opposition to motion for
                                 leave to amend complaint: Westlaw research
                                 charges
                                                                                     $32.53
       Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 17 of 18


                                                                                           CONFIDENTIAL


           3/25/2021 Michael Skocpol     Research in support of opposition to motion for
                                         leave to amend complaint: Westlaw research
                                         charges
                                                                                             $27.88
           3/29/2021 Lindsey Beckelman   Research in support of opposition to motion for
                                         leave to amend complaint: Westlaw research
                                         charges
                                                                                             $4.65
           3/29/2021 Marcella Coburn     Research in support of opposition to motion for
                                         leave to amend complaint: Westlaw research
                                         charges
                                                                                             $37.17
SUBTOTAL                                                                                    $925.63
           4/10/2021 Michael Skocpol     Research in support of motion to dismiss reply
                                         brief: Westlaw research charges

                                                                                             $17.11
           4/11/2021 Michael Skocpol     Research in support of motion to dismiss reply
                                         brief: Westlaw research charges

                                                                                             $32.34
           4/12/2021 Louis W. Fisher     Research in support of motion to dismiss reply
                                         brief: Westlaw research charges

                                                                                             $5.39
           4/13/2021 Marcella Coburn     Research in support of motion to dismiss reply
                                         brief: Westlaw research charges

                                                                                             $8.81
              Case No. 1:20-cv-03747-NRN Document 152-9 filed 09/03/21 USDC Colorado pg 18 of 18


                                                                                                                   CONFIDENTIAL


               4/13/2021 Marcella Coburn                 Research in support of motion to dismiss reply
                                                         brief: Westlaw research charges

                                                                                                                       $1.79
               4/26/2021 Marcella Coburn                 Research in support of oral argument preparation:
                                                         Westlaw research charges
                                                                                                                      $12.82
               4/26/2021 Michael Skocpol                 Research in support of oral argument preparation:
                                                         Westlaw research charges
                                                                                                                       $1.63
               4/26/2021 Joshua Matz                     Research in support of oral argument preparation:
                                                         Westlaw research charges
                                                                                                                      $10.78*
SUBTOTAL                                                                                                               $90.67
TOTAL                                                                                                                $1,082.24


* Due to a typographical error, when these billing records were sent to Plaintiffs' counsel on August 17, 2021, this expense entry
inaccurately read "$410.78." That error did not affect the subtotal of $90.67 or the total expenses of $1,082.24, which were
accurately reflected in the billing records sent to Plaintiffs' counsel.
